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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   JOSE DE JESUS ARTEAGA,

 9                             Petitioner,               Case No. C20-0763-MJP-MAT

10          v.                                           ORDER DIRECTING GOVERNMENT
                                                         TO FILE UPDATE REGARDING
11   ICE FIELD OFFICE DIRECTOR,                          REMOVAL

12                             Respondent.

13

14          This is a 28 U.S.C. § 2241 habeas action. The Ninth Circuit has denied Petitioner’s

15   petition for review, and the mandate issued on September 14, 2020, terminating the stay of

16   removal. The Court attempted to determine Petitioner’s custody status via ICE’s online detainee

17   locator but was unable to confirm whether Petitioner remains in custody. By November 13,

18   2020, the Government shall provide an update regarding Petitioner’s removal and, if he has been

19   removed, address whether this matter is moot. The Clerk is directed to RE-NOTE the

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     ORDER DIRECTING GOVERNMENT TO
     FILE UPDATE REGARDING REMOVAL
     -1
           Case 2:20-cv-00763-MJP-MAT Document 12 Filed 11/05/20 Page 2 of 2




 1   Government’s return memorandum (Dkt. 10) for November 13, 2020, and send copies of this

 2   order to the parties and to the Honorable Marsha J. Pechman.

 3          Dated this 5th day of November, 2020.

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 5                                                      A
                                                        Mary Alice Theiler
 6                                                      United States Magistrate Judge

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     ORDER DIRECTING GOVERNMENT TO
     FILE UPDATE REGARDING REMOVAL
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